4:06-cr-03075-RGK-DLP       Doc # 82   Filed: 08/14/07   Page 1 of 1 - Page ID # 595



                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                )          4:05CR3017 and
                                         )          4:06CR3075
                   Plaintiff,            )
                                         )
      vs.                                )
                                         )          ORDER
KENNETH SLOMINSKI,                       )
                                         )
                   Defendant.            )


      On the oral motion of the government, and with the agreement of defense
counsel,

      IT IS ORDERED that:

      (1) The defendant’s evidentiary hearing and sentencing will be held from
10:30 a.m. to 12:00 noon on Friday, August 24, 2007 (rather than all day), before the
undersigned United States district judge, in Courtroom No. 1, Robert V. Denney
Federal Building and U.S. Courthouse, Lincoln, Nebraska. The defendant shall be
present unless excused by the court.

     (2) Prior to the hearing, if the parties have reached any agreements, Judge
Kopf would like to be advised of the nature of those agreements.

      August 14, 2007.                 BY THE COURT:

                                       s/ Richard G. Kopf
                                       United States District Judge
